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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

    ADISCOV, L.L.C.                                §
                                                   §        JUDGE DAVID FOLSOM
                        Plaintiff                  §
                                                   §
    v.                                             §           Case No: 2:07-cv-280-DF
                                                   §
    KROLL ONTRACK, INC., ENGENIUM                  §
    CORPORATION, & INTERLEGIS, INC.                §
                                                   §           JURY TRIAL DEMANDED
                        Defendants                 §
                                                   §
                                                   §


         ORDER OF DISMISSAL AS TO DEFENDANTS KROLL ONTRACK, INC.
                       AND ENGENIUM CORPORATION


         Before the Court is the Joint Motion to Dismiss as to Defendants Kroll Ontrack, Inc. and

Engenium Corporation requesting the Court to dismiss all claims asserted by and between

Plaintiff Adiscov, L.L.C. and Defendants Kroll and Engenium in the above-identified cause.

Finding that all matters in controversy between Adiscov, Kroll and Engenium have been settled
 .
and that good cause exists for granting the Joint Motion, it is hereby ORDERED that all claims

by and between Adiscov, Kroll and Engenium are hereby DISMISSED with prejudice, with all

costs being taxed against the party incurring the same.

           SIGNED this 31st day of January, 2008.




                                                       ____________________________________
                                                       DAVID FOLSOM
                                                       UNITED STATES DISTRICT JUDGE
